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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

FORREST EVANS,
ERNESTINE HODGE, and
RAPIDO MVD SERVICES,

               Plaintiffs,

v.                                                                    No. 2:20-cv-00874-KRS

MARGARET WILLIAMS, et al.

               Defendants.

                             ORDER FOR AMENDED COMPLAINT

       THIS MATTER comes before the Court on pro se Plaintiffs’ Response to the Court’s

Order to Show Cause, Doc. 9, filed October 14, 2020 (“Response”).

       Plaintiffs Evans and Hodge, who are employees of Plaintiff Rapido MVD Services, assert

federal-law claims of discrimination based on “race, age, mental disability,” “harassment,” and

“equal protection” pursuant to 42 U.S.C. § 1983, and state-law claims, against 22 Defendants.

Complaint for Violation of Civil Rights at 3, 7, 9, Doc. 1, filed August 27, 2020 (“Complaint”).

       The Court explained to Plaintiffs that the Complaint failed to state federal-law claims: (i)

for racial, age and disability discrimination; (ii) for equal protection violations; and (iii) against

Defendants City of Hobbs and City of Lovington. See Doc. 4, filed September 23, 2020. The

Court also explained that: (i) it appears that many of Plaintiffs’ claims are barred by the statute of

limitations; (ii) that the Court lacks jurisdiction over Plaintiffs’ claims for monetary damages

against employees of the State of New Mexico in their official capacity; and (iii) the claims

asserted by Defendant Rapido MVD Services are subject to dismissal because Defendant Rapido

MVD Services is not represented by an attorney.
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       The Court ordered Plaintiffs to either: (i) show cause why the Court should not dismiss

Plaintiffs’ federal-law claims for the reasons stated in the Order to Show Cause; or (ii) file an

amended complaint. Plaintiffs filed a Response to the Court’s Order to Show Cause but did not

file an amended complaint. Plaintiffs’ Response asserts that the State of New Mexico violated

Plaintiffs’ rights and provides some factual examples but does not show cause why the claims

should not be dismissed for the reasons stated in the Court’s Order to Show Cause.

       IT IS THEREFORE ORDERED that Plaintiffs shall, within 21 days of entry of this

Order, file an amended complaint. Failure to timely file an amended complaint may result in

dismissal of this case.

       IT IS SO ORDERED.


                                                    __________________________________
                                                    KEVIN R. SWEAZEA
                                                    UNITED STAGES MAGISTRATE JUDGE




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